                                    UNITED STATES BANKRUPTCY COURT
                                       DISTRICT OF MASSACHUSETTS

In re:
TOP LINE GRANITE DESIGN INC. 1                                    Case No. 22-40216 (CJP)

                                                                  Chapter 11
                                        Debtor.

                         DEBTOR’S SCHEDULES OF ASSETS AND LIABILITIES
                            AND STATEMENTS OF FINANCIAL AFFAIRS

       Top Line Granite Design Inc., a debtor-in-possession (the “Debtor”) hereby submits its
Schedules of Assets and Liabilities (the “Schedules”) and Statements of Financial Affairs (the
“Statements”) pursuant to 11 U.S.C. § 521 and Rule 1007 of the Federal Rules of Bankruptcy
Procedure.

GENERAL NOTES REGARDING THE DEBTOR’S SCHEDULES AND STATEMENTS

       1.      Unaudited Financial Information. While the Debtor has sought to ensure that the
Schedules and Statements are accurate and complete based upon information that was available at
the time of preparation, the subsequent receipt of information or any audit may result in material
changes to financial data and other information contained in the Schedules and Statements.

       2.      Accuracy. While the Debtor has sought to file complete and accurate Schedules and
Statements, inadvertent errors and omissions may exist. Accordingly, the Debtor reserves the right
to amend its Schedules and Statements as necessary or appropriate.

        3.      Market Value of Property Interests. It would be prohibitively expensive and unduly
burdensome to obtain current market valuation of the Debtor’s property interests and other
significant assets. Accordingly, unless otherwise noted, the carrying net value on the Debtor’s
books, rather than current market values, of the Debtor’s interests in property is reflected on the
Debtor’ Schedules.

        4.     Liabilities. The Debtor has sought to allocate liabilities between the pre-petition and
post-petition periods based on the information and research that was conducted in connection with
the preparation of the Schedules and Statements. As additional information becomes available and
further research is conducted, the allocation of liabilities between pre-petition and post petition
periods may change.

        5.       Claim Description. Any failure to designate a claim on the Debtor’s Schedules as
“contingent,” “unliquidated,” or “disputed” does not constitute an admission by the Debtor that such
claim is not “contingent,” “unliquidated,” or “disputed.” The Debtor reserves the right to dispute,
or to assert offsets or defenses, to any claim reflected on its Schedules as to amount, liability, or

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    A/k/a Design Top Line Granite, and aka Top Line Granite Design. The Debtor’s name was changed from Brazil Stones Inc. in
        November 2005.
classification, or to otherwise subsequently designate any claim as “contingent,” “unliquidated,” or
“disputed.” Moreover, the Debtor reserves the right to amend its Schedules as necessary or
appropriate.

        6.       Executory Contracts. While every reasonable effort has been made to ensure the
accuracy of Schedule G regarding executory contracts and unexpired leases, inadvertent errors or
omissions may occur. The Debtor hereby reserves all of its rights to dispute the validity, status or
enforceability of any contract, agreement, or lease set forth in Schedule G that may have expired or
may have been modified, amended, and supplemented from time to time by various amendments,
restatements, waivers, estoppel certificates, letters and other documents, instruments, and
agreements which may not be listed therein. Certain of executory agreements may not have been
memorialized and could be subject to dispute. In addition, the Debtor may have entered into other
types of agreements in the ordinary course of its business, such as subordination, supplemental
agreements, amendments/letter agreements, non-compete agreements, and confidentiality
agreements. Such documents are not set forth in Schedule G. Certain of the agreements listed on
Schedule G may be in the nature of conditional sales agreements or secured financings. The Debtor
reserves all of its rights to dispute or challenge the characterization of the structure of any
transaction, or any document or instrument related to a creditor’s claim.

        7.      Tax Claims. Tax liabilities may be listed on Schedule E (priority) and, in some cases
where appropriate, Schedule F (unsecured), rather than on Schedule D (secured), as such
classification analysis/determination requires an analysis of various states’ laws which has not been
completed.

        8.     Secured Claims. Listing of a claim on Schedule D as a secured claim does not
constitute an admission by the Debtor that such claim is secured. The Debtor reserves the right to
dispute any claim listed on Schedule D as to amount, liability or its classification as a secured claim.

        9.      Claim Amounts. The claims of individual creditors for, among other things,
materials, goods, services, or taxes are listed as either the lower of the amounts invoiced by such
creditor or the amounts entered on the Debtor’s books and records and may not reflect credits or
allowances due from such creditors to the Debtor. The Debtor reserves all rights with respect to any
such credits and allowances including without limitation the right to assert claims objections and/or
setoffs with respect to same. The dollar amounts of claims listed may be exclusive of contingent
and unliquidated amounts.

       10.    Specific Notes. These general notes are in addition to the specific notes set forth in
the Schedules and Statements.
3115258.2




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Fill in this information to identify the case:

Debtor name         Top Line Granite Design Inc.___________ _______

United States Bankruptcy Court for the:             DISTRICT OF MASSACHUSETTS

Case number (if known)         22-40216 (CJP)
                                                                                                               □ Check if this is an
                                                                                                                 amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                              12/15

EBM Summary of Assets


1.    Schedule MB: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
                                                                                                                                         0.00
           Copy line 88 from Schedule A/B.

       1b. Total personal property:
           Copy line 91A from Schedule A/B.                                                                        $         4,825,100.00

       1c. Total of all property:
           Copy line 92 from Schedule AJB.                                                                         $         4,825,100.00


Part 2:      Summary of Liabilities


2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D.                $         4,964,856.01


3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................                $           109,872.83

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F.                       +$       11,110,184.80


4.     Total liabilities..
       Lines 2 + 3a + 3b
                                                                                                                         16,184,913.64            |




 Official Form 206Sum                                  Summary of Assets and Liabilities for Non-Individuals                         page 1
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Fill in this information to identify the case:

Debtor name         Top Line Granite Design Inc.

United States Bankruptcy Court for the:             DISTRICT OF MASSACHUSETTS

Case number (if known)         22-40216 (CJP)
                                                                                                                             □ Check if this is an
                                                                                                                               amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                  12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisabie for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule AIB, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1       Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

     □ No. Go to Part 2.
     ■ Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                 Current value of
                                                                                                                                    debtor's interest
2.         Cash on hand                                                                                                                                 $0.00



3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                          Last 4 digits of account
                                                                                                         number


           3.1.    TD Bank (4353)                                           Checking                     4353                                           $0.00




           3.2.    TD Bank (4311)                                           Checking                     4311                                           $0.00



                                                                            Vendor/ Business
           3.3.    Avidia Bank (8092) (-$6,900)                             account                      8092                                           $0.00




           3.4.    Avidia Bank (1847) (-$34,600)                            Payroll account              1847                                           $0.00




           3.5.    Avidia Bank (9913)                                                                    9913                                           $0.00




           3.6.    Avidia Bank (2674) (-$21,800)                                                         2674                                           $0.00




Official Form 206/VB                                          Schedule /VB Assets - Real and Personal Property                                          page 1
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 Debtor            Top Line Granite Design Inc.                                                   Case number (if known) 22-40216 (CJP)
                   Name




            3.7.     Millyard Bank                                             Checking                         3007                                $50.00




            3.8.     LowellFive                                                                                 5096                                $50.00



4.          Other cash equivalents (Identify all)

 5.         Total of Part 1.                                                                                                                  $100.00
            Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2;     Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

      ■ No. Go to Part 3.
      □ Yes Fill in the information below.


 Part 3:    Accounts receivable
10. Does the debtor have any accounts receivable?

      □ No. Go to Part 4.
      ■ Yes Fill in the information below.

 11.        Accounts receivable


            11 b. Over 90 days old:                               655,000.00                                     0.00 =....                  $655,000.00
                                               face amount                          doubtful or uncollectible accounts



 12.        Total of Part 3.                                                                                                              $655,000.00
            Current value on lines 11 a + 11 b = line 12. Copy the total to line 82.

 Part 4:     Investments
13. Does the debtor own any investments?

      ■ No. Go to Part 5.
      □ Yes Fill in the information below.


 Part 5:     Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      □ No. Go to Part 6.
      B Yes Fill in the information below.

            General description                        Date of the last         Net book value of          Valuation method used   Current value of
                                                       physical inventory       debtor's interest          for current value       debtor's interest
                                                                                (Where available)

 19.        Raw materials

 20.        Work in progress

 21.        Finished goods, including goods heid for resale

 22.        Other inventory or supplies


Official Form 206A/B                                            Schedule A/B Assets - Real and Personal Property                                     page 2
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 Debtor         Top Line Granite Design Inc.                                                    Case number (if known) 22-40216 (CJP)
                Name


           Inventory / raw materials
           - book value about
           $2,000,000.                                                                        $0.00                                     $2,000,000.00




23.        Total of Part 5.                                                                                                        $2,000,000.00
           Add lines 19 through 22. Copy the total to line 84.

24.        Is any of the property listed in Part 5 perishable?
            ■ No
            □ Yes

25.        Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
            ■ No
            □ Yes. Book value                                       Valuation method                       Current Value

26.        Has any of the property listed in Part 5 been appraised by a professional within the last year?
            ■ No
            □ Yes

 Part 6:     Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

    ■ No. Go to Part 7.
    □ Yes Fill in the information below.


 Part 7:    Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

    □ No. Go to Part 8.
    ■ Yes Fill in the information below.

           General description                                                  Net book value of     Valuation method used     Current value of
                                                                                debtor's interest     for current value         debtor's interest
                                                                                (Where available)

 39.       Office furniture
           Furniture book value $87,000 - Net
           accumulated depreciation about $7,000.00                                           $0.00                                          $7,000.00



40.        Office fixtures

41.        Office equipment, including all computer equipment and
           communication systems equipment and software

42.        Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

43.        Total of Part 7.                                                                                                                 $7,000.00
           Add lines 39 through 42. Copy the total to line 86.

44.        Is a depreciation schedule available for any of the property listed in Part 7?
            ■ No
            □ Yes

45.        Has any of the property listed in Part 7 been appraised by a professional within the last year?
            ■ No

Official Form 206A/B                                         Schedule A/B Assets - Real and Personal Property                                     page 3
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Debtor          Top Line Granite Design Inc.                                                  Case number (if known) 22-40216 (CJP)
                Name


            □ Yes

 Parts:      Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

   □ No. Go to Part 9.
    ■ Yes Fill in the information beiow.

            General description                                               Net book value of      Valuation method used    Current value of
            Include year, make, model, and identification numbers             debtor's interest      for current value        debtor's interest
            (i.e., VIN, HIN, or N-number)                                     (Where available)

47.         Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

            47.1     Book value for owned vehicles $565,000
                     - Net accumulated depreciation about
                     $135,000
                     Some of the debtor's vehicles are
                     subject to loans- See Schedule D. The
                     debtor also leases several vehicles- See
                     Schedule G                  ___________                                $0.00                                      $135,000.00




48.         Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
            floating homes, personal watercraft, and fishing vessels

49.         Aircraft and accessories


50.         Other machinery, fixtures, and equipment (excluding farm
            machinery and equipment)
            Machinery & equipment book value about
            $2,000,000.00- Net accumulated depreciation
            about $352,925.00           _______________                                     $0.00                                     $2,000,000.00



            Office equipment book value $242,000 - Net
            accumulated depreciation about $28,000                                          $0.00                                        $28,000.00




51.         Total of Part 8.                                                                                                     $2,163,000.00          I
            Add lines 47 through 50. Copy the total to line 87.

 52.        Is a depreciation schedule available for any of the property listed in Part 8?
            ■ No
            □ Yes

 53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
            ■ No
            □ Yes

 Part 9:     Real property
54. Does the debtor own or lease any real property?

    □ No. Go to Part 10.
      B Yes Fill in the information below.

 55.        Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                  page 4
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Debtor          Top Line Granite Design Inc.                                                  Case number (if known) 22-40216 (CJP)
                Name


           Description and iocation of                    Nature and          Net book value of       Valuation method used   Current value of
           property                                       extent of           debtor's interest       for current value       debtor's interest
           Include street address or other                debtor's interest   (Where available)
           description such as Assessor                   in property
           Parcel Number (APN), and type
           of property (for example,
           acreage, factory, warehouse,
           apartment or office building, if
           available.
           55.1. Commercial Property
                   Lease, dated 1/1/2019
                   (as may be amended)
                   with 347 Middlesex
                   Road Realty Trust for
                   347 Middlesex Road,
                   Tyngsboro MA.

                     Lease dated
                     11/26/2019 with
                     Blackdog Investment
                     Holdings LLC for
                     Home Design Center
                     / displays in Nashua
                     NH.

                     Occupancy
                     arrangement
                     (unwritten) with
                     Brattle Development
                     for warehouse space
                     (41 Lowell Street,
                     Dunstable MA 01827)
                     since May 2021                                                         $0.00                                                 $0.00




56.        Total of Part 9.                                                                                                                   $0.00
           Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
           Copy the total to line 88.

57.        Is a depreciation schedule available for any of the property listed in Part 9?
            ■ No
            □ Yes

58.         Has any of the property iisted in Part 9 been appraised by a professional within the last year?
            ■ No
            □ Yes

 Part 10:    Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

    □ No. Goto Part 11.
    B Yes Fill in the information below.

           General description                                                Net book value of       Valuation method used    Current value of
                                                                              debtor's interest       for current value        debtor's interest
                                                                              (Where available)

60.        Patents, copyrights, trademarks, and trade secrets
           Website and domain name
           (https://www.topiinegranitedesign.com/)____                                      $0.00                                          Unknown




Official Form 206/VB                                          Schedule A/B Assets - Real and Personal Property                                    page 5
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Debtor          Top Line Granite Design Inc.                                                  Case number (if known) 22-40216 (CJP)
                Name


61.         Internet domain names and websites

62.         Licenses, franchises, and royalties

63.         Customer lists, mailing lists, or other compiiations

64.         Other intangibles, or intellectual property

65.         Goodwill

66.         Total of Part 10.                                                                                                  |                   $0.00
            Add lines 60 through 65. Copy the total to line 89.                                                                i________________

67.         Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101 (41 A) and 107?
            ■ No
            □ Yes

68.         Is there an amortization or other simiiar schedule available for any of the property listed in Part 10?
            ■ No
            □ Yes

69.         Has any of the property listed in Part 10 been appraised by a professional within the last year?
            ■ No
            □ Yes

 Part 11 All other assets
______
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

      □ No. Go to Part 12.
      ■ Yes Fill in the information below.

                                                                                                                                    Current value of
                                                                                                                                    debtor's interest


71.         Notes receivable
            Description (include name of obligor)
            Amount loaned to 347 Middlesex                                 2,067,000.00                            2,067,000.00
            Realty Trust (9/2019)___________                          Total face amount     doubtful or uncollectible amount                    Unknown



            Amounts that may be owed by US                                     26,000.00                               26,000.00
            Construction and Maintenance LLC                          Total face amount     doubtful or uncollectible amount
            for use of space                                                                                                                    Unknown




 72.        Tax refunds and unused net operating losses (NOLs)
            Description (for example, federal, state, local)

 73.        Interests in insurance policies or annuities

 74.        Causes of action against third parties (whether or not a lawsuit
            has been filed)
            Potential cause of action against Merchant
            Capital/Alpha Recovery Partners for unfair practices
            and damages caused by contacting debtor's customers
            and/or vendors with false information                                                                                               Unknown
            Nature of claim
            Amount requested                                   $0.00




Official Form 206A/B                                          Schedule Ai/B Assets - Real and Personal Property                                      page 6
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Debtor          Top Line Granite Design Inc.                                                  Case number (if known) 22-40216 (CJP)
                Name



           Counterclaim in Allegheny lawsuit (See SOFA)                                                                                    Unknown
           Nature of claim
           Amount requested                                             $0.00


           Potential causes of action against certain cash advance/
           hard money lenders for unfair practices pre-petition
           and/or post-petition, inciuding for contacting
           customers and/or vendor^                                                                                                        Unknown
           Nature of claim
           Amount requested                              $0.00



75.        Other contingent and uniiquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims

76.        Trusts, equitable or future interests in property

77.        Other property of any kind not already listed Examples: Season tickets,
           country club membership

           Leasehold improvements- book value about $1,000,000                                                                             Unknown



           Second EIDL loan application (not approved as of
           petition)                                                                                                                       Unknown




78.        Total Of Part 11.                                                                                                                  $0.00
           Add lines 71 through 77. Copy the total to line 90.

79.        Has any of the property listed in Part 11 been appraised by a professional within the last year?
            ■ No
            □ Yes




Official Form 206/A/B                                         Schedule A/B Assets - Real and Personal Property                                   page 7
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Debtor          Top Line Granite Design Inc.                                                    Case number (if known) 22-40216 (CJP)
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                               Current value of            Current value of real
                                                                                     personal property           properly

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                            $100.00

81. Deposits and prepayments. Copy line 9, Part 2.                                                   $0.00

82. Accounts receivable. Copy line 12, Part 3.                                                $655,000.00

83. Investments. Copy line 17, Part 4.                                                               $0.00

84. Inventory. Copy line 23, Part 5.                                                        $2,000,000.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                        $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                        $7,000.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                               $2,163,000.00

88. Real property. Copy line 56, Part 9.                                                                 >                                $0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                    $0.00

90. All other assets. Copy tine 78, Part 11.                                     +                   $0.00

 91. Total. Add lines 80 through 90 for each column                                       $4,825,100.00      + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                         $4,825,100.00




Official Form 206/V/B                                          Schedule A/B Assets - Real and Personal Property                                        page 8
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Fill in this information to identify the case:

Debtor name          Top Line Granite Design Inc.___________ ______

United States Bankruptcy Court for the:             DISTRICT OF MASSACHUSETTS

Case number (if known)              22-40216 (CJP)
                                                                                                                                        □ Check if this is an
                                                                                                                                          amended fiiing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                   12/15

Be as complete and accurate as possible.

1. Do any creditors have claims secured by debtor's property?

     □ No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing eise to report on this form.
     ■ Yes. Fiil in all of the information below.
 Parti B I I I I II ililiii Who Have Secured Claims____________________ ____________
                                                                                                                    Column A                  Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                                 Amount of claim           Value of collateral
                                                                                                                                              that supports this
                                                                                                                    Do not deduct the value   claim
                                                                                                                    of collateral.
2.1 i AJ Equity Group                                 Describe debtor's property that is subject to a lien                   $33,681.70                    $0.00
       Creditor's Name                                Substantially all assets
       1648 61 Street
       c/o Dillon Dancoso
       Brooklyn, NY 11204
       Creditor's mailing address                     Describe the lien
                                                      UCC statement filed 1/27/22
       john@tvtcapital.com;                           Is the creditor an insider or related party?
       sender@ajequity.com;                           ■ No
       aryeh@ajequity.com__
       Creditor's email address, if known             □ Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                         □ No
       Merchant cash advance                          B Yes. Fill out Schedule H: Codebtors (Official Form 206FI)
       agreeement 1/21/22
       Last 4 digits of account number


       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply

       B No                                           D Contingent

       D Yes. Specify each creditor,                  D Unliquidated
       including this creditor and its relative       B Disputed
       priority.




 2^ Avidia Bank                                       Describe debtor's property that is subject to a lien               $1,455,643.76                Unknown
       Creditor's Name                                Substantially all assets
       42 Main Street
       c/o Stephen McAndrew
       Hudson, MA 01749
       Creditor's mailing address                     Describe the lien
                                                      UCC statement filed 8/28/19 (see equipment
                                                      loan)________________ ___________________
       s.mcandrew@avidiabank.c                        Is the creditor an insider or related party?

       om                                             ■ No
       Creditor's email address, if known             □ Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                         □ No
       8/28/19                                        B Yes. Fill out Schedule H: Codebtors (Official Form 206FI)
       Last 4 digits of account number




Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                              page 1 of 14
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Debtor       Top Line Granite Design Inc.                                                             Case number (it known)     22-40216 (CJP)
             Name

       Revolving line/ inventory
       loan     ______________
       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply

       B No                                           D Contingent

       □   Yes. Specify each creditor,                D Unliquidated
       including this creditor and its relative       n Disputed
       priority.




j 2.3 I Avidia Bank No. 5365                         Describe debtor's property that is subject to a lien                  $1,086,438.41          Unknown
       Creditor's Name                               Substantially all assets
       42 Main Street
       c/o Stephen McAndrew
       Hudson, MA 01749
       Creditor's mailing address                     Describe the lien
                                                      UCC statement filed 8/28/19 (see revolving/
                                                      inventory loan) ____________       _______
       s.mcandrew@avldiabank.c                        Is the creditor an insider or related party?

       om                                             ■ No
       Creditor's email address, if known             □ Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                         □ No
       8/28/19                                        B Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       Equipment loan________
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply

       ■ No                                           □ Contingent

       D Yes. Specify each creditor,                  □ Unliquidated
       including this creditor and its relative       □ Disputed
       priority.




2.4 j Blade Funding Inc.                              Describe debtor's property that is subject to a lien                     $75,525.00               $0.00
      Creditor's Name                                 Substantially all assets
       211 Boulevard of the
       Americas
       Lakewood, NJ 08701
       Creditor's mailing address                     Describe the lien


       uw@biadefunding.com;                           Is the creditor an insider or related party?

       info@bladefunding.co                           ■ No
       Creditor's email address, if known             □ Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                         □ No
       Agreement for purchase                         ■ Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       and sale of future receipts
       2/3/22
       Last 4 digits of account number


       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest In the same property?                 Check all that apply

        B No                                          □   Contingent

       n Yes. Specify each creditor,                  □ Unliquidated
       including this creditor and its relative       B Disputed
       priority.




275 i BrickStone Group LLC                            Describe debtor's property that is subject to a lien                     $60,159.58               $0.00




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   page 2 of 14

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Debtor        Top Line Granite Design Inc.                                                             Case number (it known)    22-40216 (CJP)
              Name

       Creditor's Name                                Substantially all assets
       1201 N. Orange Street, Ste
       7140
       Wilmington, DE 19801
       Creditor's maiiing address                     Describe the lien


       bruce@brickstonefund.co                        Is the creditor an insider or related party?

       m;                                             ■ No
       moshe@mrfundinggroup.c
       om
       Creditor's email address, if known             □ Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                         □ No
       Merchant cash advance                          M Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       agreement 2/14/22
       Last 4 digits of account number


       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply

       ■ No                                           □ Contingent

       □ Yes. Specify each creditor,                  □ Unliquidated
       including this creditor and its relative       a Disputed
       priority.




2.6 j Colonial Imports Corp.                          Describe debtor's property that is subject to a lien                      $35,491.00        Unknown
       Creditor's Name                                2019 Toyota RAV4 (VIN # xxx2522)
       10 Marmon Drive
       Nashua, NH 03060
       Creditor's mailing address                     Describe the lien
                                                      Car loan - Retail installment sale contract (6
                                                     jy:s)              ______________________
                                                      Is the creditor an insider or related party?

                                                      ■ No
       Creditor's email address, if known             □ Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                         □ No
       3/22                                           a Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number


       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply

        a No                                          □ Contingent

       □ Yes. Specify each creditor,                  □ Unliquidated
       including this creditor and its relative       □ Disputed
       priority.




      \ Colonial Imports Corp.                        Describe debtor's property that is subject to a lien                      $39,231.00        Unknown
       Creditor's Name                                2019 Toyota RAV2 (VIN # xxx7049)
       10 Marmon Drive
       Nashua, NH 03060
       Creditor's maiiing address                     Describe the lien
                                                     Car loan - Retail installment sale contract (6
                                                     ^Vrs)__ ________________________________
                                                      Is the creditor an insider or related party?

                                                      a No
       Creditor's email address, if known             □ Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                         □ No
       3/22                                           a Yes. Fill out Schedule H: Codebtors (Official Form 206FI)

Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   page 3 of 14
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Debtor        Top Line Granite Design Inc.                                                            Case number (if known)     22-40216 (CJP)
              Name
       Last 4 digits of account number

       Do multipie creditors have an                 As of the petition fiiing date, the ciaim is:
       interest in the same property?                Check all that apply
       ■ No                                           n Contingent
       n Yes, Specify each creditor,                  □ Unliquidated
       including this creditor and its relative       D Disputed
       priority.



2.8 I Colonial Imports Corp.                          Describe debtor's property that is subject to a iien                     $35,456.00         Unknown
       Creditor's Name                               2019 Toyota RAV4 (VIN # xxx7107)
       10 Marmon Drive
       Nashua, NH 03060
       Creditor's mailing address                     Describe the lien
                                                      Car loan - Retail installment sale contract (6
                                                     jrrs)___________________ _____________
                                                      is the creditor an insider or related party?
                                                      ■ No
       Creditor's email address, if known             □ Yes
                                                      Is anyone else liable on this ciaim?
       Date debt was incurred                         □ No
       3/22                                           ■ Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply
       ■ No                                           D Contingent
       D Yes. Specify each creditor,                  D Unliquidated
       including this creditor and its relative       D Disputed
       priority.



2.9 I Colonial Imports Corp.                          Describe debtor's property that is subject to a iien                     $35,491.00         Unknown
       Creditor's Name                                2019 Toyota RAV 4 (VIN#9596)
       10 Marmon Drive
       Nashua, NH 03060
       Creditor's mailing address                     Describe the lien
                                                      Car loan - Retail Installment sale contract (6
                                                     YTS)________ _____________________
                                                     Is the creditor an insider or related party?
                                                      ■ No
       Creditor's email address, If known             □ Yes
                                                      Is anyone else liable on this ciaim?
       Date debt was incurred                         □ No
                                                      B Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition fiiing date, the ciaim is;
       interest in the same property?                 Check all that apply
       ■ No                                           D Contingent
       D Yes. Specify each creditor,                  D Unliquidated
       including this creditor and its relative       n Disputed
       priority.



2.1 Corporation Service
0__Company                                            Describe debtor's property that is subject to a lien                          $0.00               $0.00




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   page 4 of 14

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Debtor       Top Line Granite Design Inc.                                                             Case number (if known)     22-40216 (CJP)
             Name

       Creditor's Name                                NOTICE PURPOSES
       as representative
       P.O. Box 2576
       Springfield, IL 62708
       Creditor's mailing address                    Describe the lien
                                                      UCC statement: #202284916570
       UCCSPREP@CSCGLOBAL.                            Is the creditor an insider or related party?

       COM                                            ■ No
       Creditor's email address, if known             □ Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                         □ No
                                                      M Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number


       Do multiple creditors have an                 As of the petition filing date, the claim Is;
       interest in the same property?                Check all that apply

       ■ No                                           B Contingent
       n Yes. Specify each creditor,                  B Unliquidated
       including this creditor and its relative
       priority.                                      B Disputed




2.1    CT Corporation System, as
 1     representative__________                       Describe debtor's property that is subject to a lien                          $0.00               $0.00
       Creditor's Name                                NOTICE PURPOSES
       330 N. Brand Blvd., Suite
       700
       Attn: SPRS
       Glendale, CA91203
       Creditor's mailing address                     Describe the lien
                                                      UCC statement # 202071949350;
                                                      #202173750430; #202183216960;
                                                      #202184108840______________ ________
                                                      Is the creditor an insider or related party?

                                                      ■ No
       Creditor's email address, if known             D Yes
                                                      Is anyone else liable on this claim?

       Date debt was incurred                         ■ No
                                                      □ Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number


       Do multiple creditors have an                  As of the petition filing date, the claim is;
       interest in the same property?                 Check all that apply

       ■ No                                           B Contingent
       n Yes, Specify each creditor,                  B Unliquidated
       including this creditor and its relative
       priority.                                      B Disputed




2.1
       Danvers - Til, Inc.                            Describe debtor's property that is subject to a lien                     $19,773.00         $35,000.00
Ll
       Creditor's Name                                2020 Toyota Highlander Hybrid XLE AWD
                                                      (VIN XX0869)
       488 Main Street
       Tewksbury, MA 01876
       Creditor's mailing address                     Describe the lien
                                                     Car loan - Retail installment sale contract (5
                                                     Arrsl________________________________
                                                      Is the creditor an insider or related party?

                                                      ■ No
       Creditor's email address, if known             □ Yes
                                                      Is anyone else liable on this claim?



Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   page 5 of 14
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Debtor       Top Line Granite Design Inc.                                                              Case number (if known)     22-40216 (CJP)
             Nam©

       Date debt was incurred                         B No
       10/8/2020                                      □ Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                 As of the petition fiiing date, the ciaim is:
       interest in the same property?                Check all that apply
       ■ No                                           □ Contingent
       n Yes. Specify each creditor,                  □ Unliquidated
       including this creditor and its relative       □ Disputed
       priority.



2.1
3      Danvers - Til, Inc.                            Describe debtor's property that is subject to a lien                      $19,000.00         $35,000.00
       Creditor's Name                               2020 Toyota Highlander Hybrid XLE AWD
                                                     (VIN XX8318)
       488 Main Street
       Tewksbury, MA 01876
       Creditor's mailing address                     Describe the lien
                                                      Car loan - Retail installment sale contract (5
                                                      yrs)_____________ _______________________
                                                      Is the creditor an insider or related party?
                                                      ■ No
       Creditor's email address, if known             □ Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                         ■ No
       10/9/2020                                      □ Yes. Fill out Schedule H: Codebtors (Official Form 206FI)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
       ■ No                                           □ Contingent
       □ Yes. Specify each creditor,                  □ Unliquidated
       including this creditor and its relative       □ Disputed
       priority.



2.1
4      Danvers - Til, Inc.                            Describe debtor's property that is subject to a lien                      $18,000.00         $18,000.00
       Creditor's Name                                2019 Toyota C-HR XLE FWD (VIN xx5019)
       488 Main Street
       Tewksbury, MA 01876
       Creditor’s mailing address                     Describe the lien
                                                     Car loan - Retail installment sale contract (5
                                                     yrs)_____________________________________
                                                      Is the creditor an insider or related party?
                                                      ■ No
       Creditor's email address, if known             □ Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                         ■ No
       10/13/2020                                     □ Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        ■ No                                          □ Contingent
       □ Yes. Specify each creditor,                  □ Unliquidated
       including this creditor and its relative
       priority.
                                                      □ Disputed


Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                    page 6 of 14

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Debtor       Top Line Granite Design Inc.                                                             Case number (if known)      22-40216 (CJP)
             Name

2.1
5      Delta Bridge Funding                          Describe debtor's property that is subject to a iien                       $22,356.00               $0.00

       Creditor's Name                               Substantially all assets
       18851 NE29th Ave.
       Suite 700
       Miami, FL 33180
       Creditor's mailing address                    Describe the iien
                                                     UCC statement # 202193958220 (filed 12/24/21
                                                     by Corporate Service)___________________
       uw@mradvancellc.com;                          is the creditor an insider or related party?

       admin ©fundingcontracts.c                      ■ No
       om; dan@bridgeconso
       Creditor's email address, if known             □ Yes
                                                     is anyone eise liabie on this ciaim?

       Date debt was incurred                         ■ No
                                                      □ Yes. Fill out Schedule H: Codebtors (Official Form 206FI)
       Last 4 digits of account number


       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply

       ■ No                                           O Contingent

       n Yes, Specify each creditor,                  n Unliquidated
       including this creditor and its relative       B Disputed
       priority.




2.1
6      Diverse Capital                                Describe debtor's property that Is subject to a lien                     $211,563.00               $0.00

       Creditor's Name                                Substantially all asset UCC
       750 Main Street, Suite 906
       Hartford, CT 06103
       Creditor's mailing address                     Describe the lien


       erica® tritonrecoverygroupi                    Is the creditor an insider or related party?

       nc.com;                                        ■ No
       edwind@opsmca.com;
       submit@dive
       Creditor's email address, if known             □ Yes
                                                      Is anyone else liable on this claim?

       Date debt was incurred                         B No
                                                      n Yes. Fill out Schedule H: Codebtors (Official Form 206FI)
       Last 4 digits of account number


       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply

       B No                                           D Contingent

       n Yes. Specify each creditor,                  D Unliquidated
       including this creditor and its relative       B Disputed
       priority.




2.1
7      ENG Commercial Finance                         Describe debtor's property that is subject to a lien                     $317,386.52         Unknown
       Creditor's Name                                Equipment loan
       One Pierce Place, Suite
       1100
       P.O. Box 128
       c/o Rose Reynolds, VP
       Itasca, IL 60143______
       Creditor's maiiing address                     Describe the lien
                                                      UCC statement filed 10/8/20


Official Form 206D                      Additional Page of Schedule D; Creditors Who Have Claims Secured by Property                                   page 7 of 14

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Debtor       Top Line Granite Design Inc.                                                              Case number (if known)     22-40216 (CJP)
             Name

       customerservice@engsfina                       Is the creditor an insider or related party?
       nce.com                                        B No
       Creditor's emaii address, if known             □ Yes
                                                      Is anyone else liable on this claim?

       Date debt was incurred                         ■ No
                                                      □ Yes. Fill out Schedule H: Codebtors (Official Form 206FI)
       Last 4 digits of account number
       6418
       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply

       ■ No                                           D Contingent

       □   Yes. Specify each creditor,                D Unliquidated
       including this creditor and its relative       D Disputed
       priority.




2.1    Enterprise Bank and Trust
8      Company              ___                       Describe debtor's property that is subject to a lien                      $23,936.04         Unknown
       Creditor's Name                                All assets
       222 Merrimack Street
       c/o Richard Chavez
       Lowell, MA 01852
       Creditor's mailing address                     Describe the lien
                                                      UCC filed 3/16/2007 (continued 2/7/22)
                                                      is the creditor an insider or related party?

                                                      ■ No
       Creditor’s email address, if known             □ Yes
                                                      Is anyone else liable on this claim?

       Date debt was incurred                         ■ No
                                                      □ Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       8182_________
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply

       ■ No                                           □ Contingent

       D Yes. Specify each creditor,                  □ Unliquidated
       including this creditor and its relative       □ Disputed
       priority.




2.1
9      First Corporate Solution,                      Describe debtor's property that is subject to a lien                           $0.00               $0.00
       Creditor's Name                                NOTICE PURPOSES
       as representative
       914 S. street
       Sacramento, CA 95811
       Creditor's mailing address                     Describe the lien
                                                      UCC Statement $202285292240 (fiied 2/4/22)
                                                      Is the creditor an insider or related party?
       SPRS@FICOSO.COM                                ■ No
       Creditor's email address, if known             □ Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                         □ No
                                                      B Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number


       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   page 8 of 14

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Debtor       Top Line Granite Design Inc.                                                             Case number (if known)     22-40216 (CJP)
             Name

       ■ No                                           B Contingent
       D Yes. Specify each creditor,                  B Unliquidated
       including this creditor and its relative
       priority.                                      B Disputed




2.2
0   Lexus Financial Services                         Describe debtor's property that is subject to a iien                      $23,110.00         $24,000.00
       Creditor's Name                               2017 Lexus RX (VIN # xx2846)
       P.O. Box 5855                                 Unpaid amount prepetition $690.00
       Carol Stream, IL
       60197-5855
       Creditor's mailing address                    Describe the iien
                                                     Car loan - retail installment sale contract (4
                                                     years)_______________________________
                                                     Is the creditor an insider or reiated party?

                                                      I No
       Creditor's email address, if known             □ Yes
                                                      is anyone eise iiabie on this ciaim?

       Date debt was incurred                         ■ No
                                                      □ Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number


       Do multiple creditors have an                 As of the petition fiiing date, the ciaim is:
       interest in the same property?                Check all that apply

       ■ No                                           □ Contingent

       □ Yes. Specify each creditor,                  □ Unliquidated
       including this creditor and its relative       □ Disputed
       priority.




2.2
1      Mercury Funding                                Describe debtor's property that is subject to a lien                     $35,600.00               $0.00
       Creditor's Name                                Substantially all assets
       1200 River Ave.
       Lakewood, NJ 08701
       Creditor's mailing address                     Describe the iien
                                                      UCC financing statement filed 12/10/21
       sean@securecapitalsolutio                      is the creditor an insider or reiated party?

       ns.com                                         ■ No
       Creditor's email address, if known             □ Yes
                                                      is anyone eise Iiabie on this ciaim?

       Date debt was incurred                         ■ No
       Merchant cash advance                          □ Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       agreement 12/9/21
       Last 4 digits of account number


       Do multiple creditors have an                  As of the petition fiiing date, the ciaim is:
       interest in the same property?                 Check all that apply

       ■ No                                           □ Contingent

       □ Yes. Specify each creditor,                  □ Unliquidated
       including this creditor and its relative       B Disputed
       priority.




2.2
2      MR Advance                                     Describe debtor's property that is subject to a lien                          $0.00               $0.00
       Creditor's Name                                NOTICE PURPOSES (paid)
       35-12 19th Ave, Suite 3W
       c/o Michael Kay
       Astoria, NY 11105_____
       Creditor's mailing address                     Describe the iien


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Debtor       Top Line Granite Design Inc.                                                             Case number (if known)     22-40216 (CJ P)
             Name


       uw@ mradvancellc.com;                         Is the creditor an insider or reiated party?

       admin ©fundingcontracts.c                     ■ No
       om; info@mradvancel____
       Creditor's email address, if known            □ Yes
                                                     is anyone eise iiabie on this ciaim?
       Date debt was incurred                        □ No
       Future receivables saie and                    B Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       purchase agreement
       12/23/21
       Last 4 digits of account number


       Do multiple creditors have an                 As of the petition filing date, the ciaim is:
       interest in the same property?                Check all that apply

       B No                                           □ Contingent

       n Yes. Specify each creditor,                  n Unliquidated
       including this creditor and its relative       B Disputed
       priority.




2.2 I
3 IRFG                                                Describe debtor's property that is subject to a lien                           $0.00               $0.00
       Creditor's Name                                Substantially all assets
       260 Christopher Lane
       Staten Island, NY 10314
       Creditor's mailing address                     Describe the lien
                                                      UCC statement filed 11/6/19
                                                      Is the creditor an insider or related party?

                                                      B No
       Creditor's email address, if known             □ Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                         □ No
                                                      B Yes. Fill out Schedule H: Codebtors (Official Form 206FI)
       Last 4 digits of account number


       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply

       B No                                           B Contingent

       □   Yes. Specify each creditor,                B Unliquidated
       including this creditor and its relative
       priority.                                      B Disputed




2.2
4   ROC Funding                                       Describe debtor's property that is subject to a lien                     $387,081.00               $0.00
       Creditor's Name                                Substantially all assets
       1457 Richmond Road
       c/o Daren Dorai
       Staten Island, NY 10314
       Creditor's mailing address                     Describe the lien


       info@rocfundinggroup.co                        Is the creditor an insider or related party?

       m;                                             B No
       daren@rocfundinggroup.c
       om; mcatalano@r_______
       Creditor's email address, if known             □ Yes
                                                      Is anyone else liable on this claim?

       Date debt was incurred                         B No
       Merchant agreements 7/21,                      □ Yes. Fill out Schedule H: Codebtors (Official Form 206FI)
       11/21
       Last 4 digits of account number




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Debtor       Top Line Granite Design Inc.                                                             Case number (if known)      22-40216 (CJP)
             Name

       Do multiple creditors have an                 As of the petition fiiing date, the ciaim is:
       interest in the same property?                Check all that apply

       ■ No                                          n Contingent

       □ Yes. Specify each creditor,                 □   Unliquidated
       including this creditor and its relative       B Disputed
       priority.




2.2
5   Speedy Funding                                   Describe debtor's property that is subject to a lien                      $64,816.00                $0.00
       Creditor's Name                               Substantially all assets
       157 Church Street
       New Haven, CT 06510
       Creditor’s mailing address                    Describe the lien


       nir@diversecapitalllc.com;                    Is the creditor an insider or related party?
       info@speedyfundcapital.co                      ■ No
       m
       Creditor's email address, if known             □ Yes
                                                     Is anyone else liable on this claim?

       Date debt was incurred                         ■ No
       Merchant agreement                             □ Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       2/15/22
       Last 4 digits of account number


       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply

       e No                                           D Contingent

       D Yes. Specify each creditor,                  □ Unliquidated
       including this creditor and its relative       e Disputed
       priority.




2.2 i
6     Tulley Automotive Group                         Describe debtor's property that is subject to a lien                      $88,827.00         Unknown
       Creditor's Name                                2021 GMC Sierra 2500HD AT4 (VIN # xxx8219)
       147 Daniel Webster Hwy
       Nashua, NH 03060
       Creditor's mailing address                     Describe the lien
                                                      Car loan - Retail installment sale contract (6
                                                     ml                 ___________________
                                                     Is the creditor an insider or related party?

                                                      ■ No
       Creditor's email address, if known             □ Yes
                                                      Is anyone else liable on this claim?

       Date debt was incurred                         ■ No
       3/22                                           □ Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number


       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply

       ■ No                                           □ Contingent

       □   Yes. Specify each creditor,                □ Unliquidated
       including this creditor and its relative       □ Disputed
       priority.




i2.2
j?   TVT Capital                                      Describe debtor's property that is subject to a lien                     $290,097.50               $0.00




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   page 11 of 14

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Debtor       Top Line Granite Design Inc.                                                             Case number (if known)      22-40216 (CJP)
             Name

       Creditor's Name                               Substantially all assets
       1407 Broadway
       c/o John Porcello
       New York, NY 10018
       Creditor's mailing address                    Describe the lien


       john@tvtcapital.com;                          Is the creditor an insider or related party?

       info@tvtcapital.com                            ■ No
       Creditor's email address, if known             □ Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                         n No
       agreement for purchase                         B Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       and sale of future receipts
       Last 4 digits of account number


       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply

       B No                                           D Contingent

       D Yes. Specify each creditor,                  n Unliquidated
       including this creditor and Its relative       B Disputed
       priority.




2.2 U.S. Small Business
8   Administration                                    Describe debtor's property that is subject to a lien                     $500,000.00         Unknown
       Creditor's Name                               Substantially all assets
       2 North 20th Street, Suite
       320
       Birmingham, AL 35203
       Creditor's mailing address                     Describe the lien
                                                      EIDL loan
       disastercustomerservice @                      Is the creditor an insider or related party?

       sba.gov                                        B No
       Creditor's email address, if known             □ Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                         □ No
                                                      B Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number


       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply

       B No                                           n Contingent

       □ Yes. Specify each creditor,                  □ Unliquidated
       including this creditor and its relative       D Disputed
       priority.




2.2
9      Ultra Funding                                  Describe debtor's property that is subject to a lien                      $86,192.50               $0.00
       Creditor's Name                                Substantially all assets
       23 Foster Street, Level 2
       Surry Hills, NSW, Australia
       201
       Creditor's mailing address                     Describe the lien


       dfrank@ ewalletinc.com;                        Is the creditor an insider or related party?
       edwin@opsmca.com;                              B No
       dillond@competitivecaps
       Creditor's email address, if known             □ Yes
                                                      Is anyone else liable on this claim?

       Date debt was incurred                         B No
       Revenue purchase                               □ Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       agreement 1/21/22
Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                    page 12 of 14
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Debtor       Top Line Granite Design Inc.                                                                Case number (if known)      22-40216 (CJP)
             Name

       Last 4 digits of account number


       Do multiple creditors have an                 As of the petition fiiing date, the ciaim is;
       interest in the same property?                Check all that apply

       B No                                           n Contingent

       n Yes. Specify each creditor,                  □   Unliquidated
       including this creditor and its relative       B Disputed
       priority.




2.3 US Bank Equipment
0   Finance                                          Describe debtor's property that is subject to a lien                               $0.00               $0.00
       Creditor's Name                                NOTiCE PURPOSES (ioan repaid)
       1310 Madrid Street
       Marshaii, MN 56258
       Creditor's mailing address                     Describe the lien
                                                      UCC financing statement                         _________
                                                      Is the creditor an insider or related party?

                                                      ■ No
       Creditor's email address, if known             □ Yes
                                                      Is anyone else liable on this claim?

       Date debt was incurred                         ■ No
                                                      □ Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number


       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply

       ■ No                                           □ Contingent

       n Yes, Specify each creditor,                  n Unliquidated
       including this creditor and its relative
       priority.
                                                      □   Disputed




2.3 I Wells Fargo Equipment
i i Finance Inc.                                      Describe debtor's property that is subject to a lien                              $0.00               $0.00
       Creditor's Name                                NOTICE PURPOSES (loan repaid)
       600 South 4th Street, MAC
       NSSOO-IOO
       Minneapolis, MN 55415
       Creditor's mailing address                     Describe the lien
                                                      UCC financing statement_______________
                                                      Is the creditor an insider or related party?

                                                      ■ No
       Creditor's email address, if known             □ Yes
                                                      Is anyone else liable on this claim?

       Date debt was incurred                         ■ No
                                                      □ Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number


       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply

        ■ No                                          □ Contingent

       □ Yes. Specify each creditor,                  □ Unliquidated
       including this creditor and its relative       □ Disputed
       priority.




                                                                                                                                  $4,964,856.0
 3   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                              1

 Part 2:    List Others to Be Notified for a Debt Already Listed in Part 1

 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,

Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 13 of 14

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Debtor       Top Line Granite Design Inc.________                                               Case number (if known)        22-40216 (CJP)
             Name
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                              you enter the related creditor?   account number for
                                                                                                                                                this entity
        CloudFund LLC
        c/o Steve Saffer, Peak Fundng                                                                    Line 2.15
        Steve@peak-funding.com

        Mercury Funding
        60 Park Ave S.                                                                                   Line 2.21
        Lakewood, NJ 08701

        Mercury Funding Group, inc
        P.O. Box 306                                                                                     Line 2.21
        c/o Sean Harris
        Lafayette, CA 94549

        Michaei Van Dam, Esq.
        Van Dam Law                                                                                      Line 2.2
        233 Needham Street, Suite 540
        Newton Upper Falls, MA 02464

        U.S. Small Business Administration
        SBA Office of Disaster Assistance                                                                Line 2.28
        409 3rd St., SW
        Washington, DC 20416




Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        page 14 of 14

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Fill in this information to identify the case:

Debtor name          Top Line Granite Design Inc._______________ _______

United States Bankruptcy Court for the:             DISTRICT OF MASSACHUSETTS

Case number (if known)           22-40216 (CJP)
                                                                                                                                          □ Check If this is an
                                                                                                                                                amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                 12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Parti JH f =-*         r^reditors with PRIORITY Unsecured Claims_______

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

          □ No. Go to Part 2.

          B Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                  Total claim           Priority amount

 2.1        Priority creditor's name and mailing address             As of the petition filing date, the claim is:                       $3,198.00        $3,198.00
           Alvaro Camargo                                            Check all that apply.
           10 Pleasant Street                                        n Contingent
           Lowell, MA 01851                                          CIl Unliquidated
                                                                     D Disputed

            Date or dates debt was incurred                          Basis for the claim:
            Check 3/24/2022
            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                      ■ No
            unsecured claim: 11 U.S.C. § 507(a) (^
                                                                     □ Yes

 2.2        Priority creditor's name and mailing address             As of the petition filing date, the claim is:                      $99,878.25         $99,878.25
            Commonwealth of Massachusetts                            Check all that apply.
            Department of Revenue                                    □ Contingent
            P.O. Box 7090                                            □ Unliquidated
            Boston, MA 02204                                         □ Disputed

            Date or dates debt was incurred                          Basis for the claim:
                                                                     Notice of Levy
            1/2021 to 2/28/22                                        (Sales tax; corproate excise tax)
            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                      ■ No
            unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                     □ Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 1 of 16
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Debtor       Top Line Granite Design Inc.                                                                     Case number (if known)   22-40216 (CJP)
             Name
2,3       Priority creditor's name and maiiing address               As of the petition filing date, the claim is:                           $674.64     $674.64
          Helen De Oliveira Moreno                                   Check all that apply.
          452 Central Street                                         n Contingent
          Unit 6                                                     □ Unliquidated
          Lowell, MA 01852                                           □ Disputed

          Date or dates debt was incurred                            Basis for the claim:
          Check 3/23/22
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                        ■ No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                     □ Yes

2.4       Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $126.23     $126.23
          Maicon R. Pereira                                          Check all that apply.
          31 Easy Street                                             □ Contingent
          Bellingham, MA 02019                                       □ Unliquidated
                                                                     □ Disputed

          Date or dates debt was incurred                            Basis for the claim:
          Check 3/18/22
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                        ■ No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                     □ Yes

2.5      j Priority creditor's name and mailing address              As of the petition filing date, the claim is:                          $1,450.00    $1,450.00
          Mario Alves                                                Check all that apply.
          55 Lawrence Street                                         □ Contingent
          Lowell, MA 01852                                           □ Unliquidated
                                                                     □ Disputed

          Date or dates debt was incurred                            Basis for the claim:
          Check 3/21/2022
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                        ■ No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                     □ Yes

2.6       Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $1,133.33    $1,133.33
          Natalia Vidotti                                            Check all that apply.
          164 Whitehall Road                                         □ Contingent
          Amesbury, MA 01913                                         □ Unliquidated
                                                                     □ Disputed

          Date or dates debt was incurred                            Basis for the claim:
          Checks 3/16/22
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                        ■ No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                     □ Yes




Official Form 206 E/F                                         Schedule E/F; Creditors Who Have Unsecured Claims                                              Page 2 of 16
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Debtor       Top Line Granite Design Inc.                                                                     Case number (if known)          22-40216 (CJP)
             Name
2.7      ] Priority creditor's name and mailing address              As of the petition fiiing date, the claim is:                                        $855.71     $855.71
          Paulo D. Amaral                                            Check all that apply.
          100 Chapman PI.                                            n Contingent
          Leominster, MA 01453                                       □ Unliquidated
                                                                     □ Disputed

          Date or dates debt was incurred                            Basis for the claim:
          Check 3/25/2022
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                        ■ No
          unsecured claim: 11 U.S.C, § 507(a) (4)
                                                                     □ Yes

2.8       Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                       $1,685.47    $1,685.47
          Ricardo L. Silva                                           Check all that apply.
          146 Cannongate III Rd.                                     □ Contingent
          Nashua, NH 03063                                           □ Unliquidated
                                                                     □ Disputed

          Date or dates debt was incurred                            Basis for the claim:
          Checks 3/23/2022
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                        ■ No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                     □ Yes

2.9       Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                        $871.20     $871.20
          William Marmolejo                                          Check all that apply.
          1 Paxton Terrace                                           □ Contingent
          Nashua, NH 03064                                           □ Unliquidated
                                                                     □ Disputed

          Date or dates debt was incurred                            Basis for the claim:
          Check 3/25/22
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                        ■ No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                     □ Yes


 Part 2 M List All Creditors with NONPRIORITY Unsecured Claims___________________ ____________________________________ _____________
     3. List in alphabetical order all of the creditors with nonpriority unsecured claims. It the debtor has more than 6 creditors with nonpriority unsecured claims, till
        out and attach the Additional Page of Part 2.
                                                                                                                                                    Amount of claim

3.1       Nonpriority creditor's name and mailing address                          As of the petition filing date, the claim is: Check all that apply.                  $56,000.00
          347 Middlesex Road Realty Trust                                           G Contingent
          347 Middlesex Road                                                        □ Unliquidated
          Tyngsboro, MA 01879                                                       □ Disputed
          Date(s) debt was incurred Feb/ March 2022                                Basis for the claim: Commercial real property lease
          Last 4 digits of account number _
                                                                                    Is the claim subject to offset? B No □ Yes

3.2       Nonpriority creditor's name and mailing address                          As of the petition filing date, the claim is: Check all that apply.                    $1,645.00
          Action King Services, Inc                                                 □ Contingent
          26 Livingston Street                                                      □ Unliquidated
          Loiwell, MA 01852                                                         □ Disputed
          Date(s) debt was incurred _                                               Basis for the claim: _
          Last 4 digits of account number _
                                                                                    Is the claim subject to offset? B No □ Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                           Page 3 of 16
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 Debtor      Top Line Granite Design Inc.                                                             Case number (if known)            22-40216 (CJP)
             Name
[3'.'3   j Nonpriority creditor's name and mailing address                   As of the petition fiiing date, the claim is: Check all that apply.              $1,250.00
          Alcateia Marketing/Headquarter                                     □ Contingent
          199 Lynn Street                                                    □ Unliquidated
          Peabody, MA 01960                                                  D Disputed
          Date(s) debt was incurred _                                        Basis for the ciaim; _
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? B No □ Yes

 3.4      Nonpriority creditor's name and maiiing address                    As of the petition fiiing date, the ciaim is: Check all that apply.              $1,406.35
          Allegheny Consulting Group LLC                                     n Contingent
          100 Business Park Drive #12                                        n Unliquidated
          Tyngsboro, MA 01879                                                D Disputed
          Date(s) debt was incurred _                                        Basis for the claim: _
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? B No D Yes

 3.5      Nonpriority creditor's name and mailing address                    As of the petition fiiing date, the ciaim is: Check all that apply.          $148,607.00
          Allegheny Contract Flooring                                        B Contingent
          36 Holton Street
                                                                             B Unliquidated
          Winchester, MA 01890
                                                                             B Disputed
          Date(s) debt was incurred _
          Last 4 digits of account number _                                  Basis for the ciaim: Subject to pending litigation and counterclaim
                                                                             Is the claim subject to offset? □ No B Yes

 3.6      Nonpriority creditor's name and maiiing address                    As of the petition fiiing date, the claim is: Check all that apply.              $1,360.82
          AmeriGas/Metro Lift Propane                                        D Contingent
          P.O. Box 415                                                       n Unliquidated
          42 Main Street                                                     D Disputed
          Epping, NH 03042
                                                                             Basis for the ciaim: _
          Date(s) debt was incurred _
                                                                             Is the claim subject to offset? B No □ Yes
          Last 4 digits of account number _

 3.7      Nonpriority creditor's name and maiiing address                    As of the petition fiiing date, the ciaim is: Check all that apply.              $2,000.00
          Angela Caggiano                                                    n Contingent
          11 Clergy Circle                                                   □ Unliquidated
          Nashua, NH 03063                                                   n Disputed
          Date(s) debt was incurred _                                        Basis for the ciaim: _
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? B No □ Yes

i3.8      Nonpriority creditor's name and maiiing address                    As of the petition fiiing date, the ciaim is: Check all that apply.            $19,570.40
          Arbella Insurance Group                                            D Contingent
          P.O. Box 699227                                                    □ Unliquidated
          Quincy, MA 02269                                                   □ Disputed
          Date(s) debt was incurred _                                        Basis for the ciaim: _
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? B No O Yes

 3.9     J Nonpriority creditor's name and mailing address                   As of the petition filing date, the ciaim is: Check all that apply.              $4,843.00
          Associated Employers Insurance                                     n Contingent
          P.O. Box 4131                                                      n Unliquidated
          Woburn, MA 01888                                                   D Disputed
          Date(s) debt was incurred _                                        Basis for the ciaim: _
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? B No D Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Ciaims                                               Page 4 of 16
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Debtor       Top Line Granite Design Inc. ____                                                        Case number (if known)            22-40216 (CJP)
             Name
13.10    Nonpriority creditor's name and mailing address                     As of the petition fiiing date, the ciaim is: Check all that apply.         $2,030,570.05
         Avidia Bank                                                         B Contingent
         42 Main Street
                                                                             B Unliquidated
         Hudson, MA 01749
                                                                             n Disputed
         Date(s) debt was incurred _
                                                                             Basis for the claim: Guaranty claim
         Last 4 digits of account number _
                                                                             Is the claim subject to offset? B No □ Yes

!3.11    Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply          $2,008,590.06
         Bay Colony Development Corp/ SBA loan                               B Contingent
         230 Third Avenue, 1st Floor
                                                                             B Unliquidated
         c/o Kim Legere, VP
                                                                             □ Disputed
         Waltham, MA 02451
         Date(s) debt was incurred _                                         Basis for the claim: Guaranty Claim

         Last 4 digits of account number _                                   Is the claim subject to offset? B No D Yes

13.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply               $2,699.98
          Best Buy, Inc.                                                     n Contingent
          Retal Services                                                     □ Unliquidated
          P.O.Box 17298
          Baltimore, MD 21297
                                                                             □ Disputed
                                                                             Basis for the claim: _
          Date(s) debt was incurred _
                                                                             Is the claim subject to offset? B No □ Yes
          Last 4 digits of account number _

 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply               $4,150.88
          Blackdog Builder Investment Holdings                               D Contingent
          7 Red Roof Lane,                                                   □ Unliquidated
          Unit 1                                                             □ Disputed
          Salem, NH 03079
                                                                             Basis for the claim: New Hampshire lease
          Date(s) debt was incurred _
                                                                             Is the claim subject to offset? B No □ Yes
          Last 4 digits of account number _

I 3.14 ] Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply               $6,970.50
          Boston Granite Exchange                                            n Contingent
          1 Parkridge Road                                                   □ Unliquidated
          P.O. Box 8242                                                      □ Disputed
          Haverhill, MA 01835
                                                                             Basis for the claim: _
          Date(s) debt was incurred _
                                                                             Is the claim subject to offset? B No □ Yes
          Last 4 digits of account number _

13.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply                     $0.00
          Brattle Development                                                n Contingent
          147 Depot Street                                                   □ Unliquidated
          Dunstable, MA 01827                                                □ Disputed
          Date(s) debt was incurred _                                        Basis for the claim: Warehouse space
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? B No □ Yes

          Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply             $12,017.18
          BSX Stone Supplier                                                 □ Contingent
          201 SE 15th Ter, Ste. 208                                          □ Unliquidated
          Deerfield Beach, FL 33441                                          □ Disputed
          Date(s) debt was incurred _                                        Basis for the claim: _
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? B No □ Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 5 of 16
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Debtor       Top Line Granite Design Inc._____                                                        Case number (if known)            22-40216 (CJP)
             Name
3.17     Nonpriority creditor's name and maiiing address                     As of the petition fiiing date, the ciaim is: Check all that apply.             $3,725.00
         CaesarStone                                                         n Contingent
         P.O. Box 603791                                                     D Unliquidated
         Charlotte, NC 28260-3791                                            n Disputed
         Date(s) debt was incurred _                                         Basis for the claim; _
         Last 4 digits of account number _
                                                                             Is the claim subject to offset? B No D Yes

3.18     Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all Ihat apply.             $1,606.00
         Cambria USA                                                         D Contingent
         46 Development Road                                                 D Unliquidated
         Fitchburg, MA 01420                                                 n Disputed
         Date(s) debt was incurred _                                         Basis for the claim: _
         Last 4 digits of account number _
                                                                             Is the claim subject to offset? B No □ Yes

3.19      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all Ihat apply.            $12,777.22
         Carolline Martire                                                   n Contingent
         d/b/a Carolline's Service                                           n Unliquidated
         945 Middiesex St., Unit 1                                           D Disputed
          Lowell, MA 01851
                                                                             Basis for the claim; Sales manager & bookkeeping (1099)
          Date(s) debt was incurred Checks 3/3 - 3/25/22
                                                                             Is the claim subject to offset? B No D Yes
          Last 4 digits of account number _

3.20      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $20,238.61
          Cohn & Dussi, LLC
          Attn: Christian Menzi                                              n Contingent
          68 Harrison Ave.                                                   □ Unliquidated
          Suite 502                                                          □ Disputed
          Boston, MA 02111
                                                                             Basis for the claim: _
          Date(s) debt was incurred _
                                                                             Is the claim subject to offset? B No □ Yes
          Last 4 digits of account number _

3.21    ] Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,985.00
          D.F. Brophy & Son Inc.                                             □ Contingent
          Attn: Kevin Brophy                                                 □ Unliquidated
          91 Mill Street                                                     □ Disputed
          Burlington, MA 01803
                                                                             Basis for the claim; _
          Date(s) debt was incurred _
          Last 4 digits of account number _                                  Is the claim subject to offset? B No      □ Yes
3.22      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,617.64
          Daltile                                                            n Contingent
          345 University Ave.                                                D Unliquidated
          Westwood, MA 02090                                                 D Disputed
          Date(s) debt was incurred _                                        Basis for the claim: _
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? B No D Yes

3.23      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Danvers - Til, Inc.                                                D Contingent
          488 Main Street                                                    □ Unliquidated
          Tewksbury, MA 01876                                                D Disputed
          Date(s) debt was incurred _                                        Basis for the claim; Auto leases (8) - see Schedule G
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? B No □ Yes




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Debtor       Top Line Granite Design Inc._______                                                      Case number (if known)            22-40216 (CJP)
             Name
3.24      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,423.23
          Deluxe Business Checks and Solutions                               n Contingent
          P.O.Box 64468                                                      □ Unliquidated
          Saint Paul, MN 55164                                               n Disputed
          Date(s) debt was incurred _                                        Basis for the claim: _
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? B No      □ Yes

3.25      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $607.50
          DJ Kinney Trucking                                                 D Contingent
          59 Old Milford Road                                                D Unliquidated
          Brookline, NH 03033                                                D Disputed
          Date(s) debt was incurred _                                        Basis for the claim: _
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? B No      □ Yes

13.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $174.06
          Duff's Garage, Inc.                                                D Contingent
          92 Kendall Road                                                    D Unliquidated
          Tyngsboro, MA 01879                                                n Disputed
          Date(s) debt was incurred _                                        Basis for the claim: _
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? B No □ Yes

 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $18,600.00
          Easy Way Landscaping Inc.                                          n Contingent
          767 Central Street                                                 n Unliquidated
          Lowell, MA 01852                                                   □ Disputed
          Date(s) debt was incurred _                                        Basis for the claim: _
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? B No D Yes

 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $3,279,657.00
          Edmilson Ramos                                                     □ Contingent
          P.O. Box 705                                                       □ Unliquidated
          Tyngsboro, MA 01879                                                □ Disputed
          Date(s) debt was incurred 2019                                     Basis for the claim: Personal loans used for benefit of debtor.
          Last 4 digits of account number Insider loans

                                                                             Is the claim subject to offset? B No D Yes

 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,500,000.00
          Edmilson Ramos                                                     D Contingent
          P.O. Box 705                                                       D Unliquidated
          Tyngsboro, MA 01879                                                n Disputed
          Date(s) debt was incurred 2019                                     Basis for the claim: Personal home refinancing used for business
          Last 4 digits of account number Insider loan
                                                                             Is the claim subject to offset? B No □ Yes

 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,101.00
          European Granite & Marble Corp.                                    n Contingent
          675 Canton Street                                                  □ Unliquidated
          Norwood, MA 02062                                                  □ Disputed
          Date(s) debt was incurred _                                        Basis for the claim: _
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? B No      □ Yes




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Debtor       Top Line Granite Design Inc._____                                                        Case number (it known)           22-40216 (CJP)
             Name
I 3.31 ^ Nonpriority creditor's name and maiiing address                     As of the petition fiiing date, the ciaim is: Check all that apply.            $4,290.90
         Excel Marble and Granite                                            n Contingent
         24 Granite Street                                                   n Unliquidated
         Milford, MA 01757                                                   □ Disputed
         Date(s) debt was incurred _                                         Basis for the claim: _
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? B No □ Yes

3.32      Nonpriority creditor's name and maiiing address                    As of the petition fiiing date, the ciaim is: Check all that apply,           $10,398.46
         Ferazzoli Imports of New England Inc.                               n Contingent
         234 Middle Street                                                   □ Unliquidated
         Middletown, CT 06457                                                □ Disputed
          Date(s) debt was incurred _                                        Basis for the ciaim: _
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? B No D Yes

 3,33     Nonpriority creditor's name and maiiing address                    As of the petition fiiing date, the ciaim is: Check all that apply.               $500.00
          Financial Pacific Leasing                                          □ Contingent
          3455 S. 344th Way                                                  □ Unliquidated
          Suite 300
          Federal Way, WA 98001
                                                                             □ Disputed
                                                                             Basis for the ciaim: _
          Date(s) debt was incurred _
          Last 4 digits of account number _                                  Is the claim subject to offset? B No □ Yes


13.34     Nonpriority creditor's name and maiiing address                    As of the petition fiiing date, the ciaim is: Check all that apply.             $4,477.00
          Finger Moveis Planejados                                           □ Contingent
          Rod RS 404 KM 04                                                   n Unliquidated
          Distrito Industrial                                                O Disputed
          Sarandi-RS-Brasil 99560-000
                                                                             Basis for the ciaim: _
          Date(s) debt was incurred _
          Last 4 digits of account number _                                  Is the claim subject to offset? B No D Yes


 3.35     Nonpriority creditor's name and maiiing address                    As of the petition fiiing date, the claim is: Check all that apply.                   $0.00
          G. Stone Commerical Division                                       D Contingent
          489 Foote St.                                                      □ Unliquidated
          Middlebury, VT 05753                                               □ Disputed
          Date(s) debt was incurred _                                        Basis for the claim: NOTICE PURPOSES
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? B No □ Yes

 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the ciaim is: Check all that apply.                   $0.00
          Global Contact                                                     □ Contingent
          16 West Main Street                                                □ Unliquidated
          Suite C
          Marlton, NJ 08053
                                                                             □ Disputed
                                                                             Basis for the ciaim: _
          Date(s) debt was incurred _
          Last 4 digits of account number _                                  Is the claim subject to offset? B No □ Yes


 3.37     Nonpriority creditor's name and maiiing address                    As of the petition fiiing date, the ciaim is: Check all that apply.           $79,250.00
          Global Stone                                                       n Contingent
          102 Wightman St.                                                   □ Unliquidated
          North Chelmsford, MA 01863                                         □ Disputed
          Date(s) debt was incurred _                                        Basis for the ciaim: _
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? B No □ Yes




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Debtor       Top Line Granite Design Inc.                                                             Case number (if known)            22-40216 (CJP)
             Name
3.38      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all lhal apply.             $4,810.00
         Goldman & Partners Immigration Law                                  n Contingent
         125 Washington Street, Suite 204                                    □ Unliquidated
         Salem, MA 01970                                                     □ Disputed
          Date(s) debt was incurred _                                        Basis for the claim: _
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? B No □ Yes

3.39      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $100,817.93
          Gramafal Granites e Marmores Falqueto                              n Contingent
          Rod BR 262 s/n - Km 104 Bananeiras                                 □ Unliquidated
          Venda Nova do Imigrantes, ES                                       □ Disputed
          Brazil 2937-000
                                                                             Basis for the claim: _
          Date(s) debt was incurred _
                                                                             Is the claim subject to offset? B No      □ Yes
          Last 4 digits of account number _

3.40    j Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $106,054.85
          Granite and Marble Depot, Inc.                                     D Contingent
          15 Old Flanders Road                                               □ Unliquidated
          Westborough, MA 01581                                              n Disputed
          Date(s) debt was incurred _                                        Basis for the claim: _
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? B No D Yes

3.41    ] Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $51,204.34
          Guidone USA, Inc.                                                  □ Contingent
          263 E. Oak Street                                                  □ Unliquidated
          Morae Helena, GA 31055                                             □ Disputed
          Date(s) debt was incurred _                                        Basis for the claim: _
          Last 4 digits of account number _
                                                                             is the claim subject to offset? B No □ Yes

3.42     I Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $11,099.19
          Hirsch Glass Corp/Spectum Quartz                                   □ Contingent
          565 University Ave.                                                n Unliquidated
          Norwood, MA 02062                                                  n Disputed
          Date(s) debt was incurred _                                        Basis for the claim: _
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? B No D Yes

3.43      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $14,458.00
          Hyquaiity Tools                                                    D Contingent
          34 Lawson Farm Road                                                □ Unliquidated
          Londonderry, NH 03053                                              □ Disputed
          Date(s) debt was incurred _                                        Basis for the claim: _
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? B No      □ Yes

3.44      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,125.00
          Ideal Tile of Newton                                               D Contingent
          244 Needham Street                                                 □ Unliquidated
          Newton Upper Falls, MA 02464                                       n Disputed
          Date(s) debt was incurred _                                        Basis for the claim: _
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? B No □ Yes




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Debtor       Top Line Granite Design Inc.                                                             Case number (if known)            22-40216 (CJP)
             Name
3.45      Nonpriority creditor's name and mailing address                    As of the petition fiiing date, the ciaim is: Check all that apply.              $9,782.18
          Jeanne D'Arc Credit Union                                          n Contingent
          Payment Processing                                                 □ Unliquidated
          P.O. Box 1238                                                      D Disputed
          Lowell, MA 01853-1238
                                                                             Basis for the ciaim: _
          Date(s) debt was incurred _
                                                                             Is the claim subject to offset? B No □ Yes
          Last 4 digits of account number _

3.46    J Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,500.00
          JP Monv Marble & Granite Inc.                                      D Contingent
          121 Whipple Street                                                 □ Unliquidated
          Apt 19                                                             D Disputed
          Worcester, MA 01610
                                                                             Basis tor the claim: _
          Date(s) debt was incurred _
          Last 4 digits of account number _                                  Is the claim subject to offset? H No □ Yes


3.47      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $35,074.25
          KP Stone Tools                                                     D Contingent
          62 Newton Ave.                                                     □ Unliquidated
          Plainville, CT 06062                                               n Disputed
          Date(s) debt was incurred _                                        Basis for the claim: _
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? B No □ Yes

13.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $7,707.89
          Leamar Industries, Inc.                                            D Contingent
          171 Locke Drive                                                    □ Unliquidated
          Mariborough, MA 01752                                              n Disputed
          Date(s) debt was incurred _                                        Basis for the claim: _
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? B No D Yes

3.49      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,374.50
          LG Hausys America, Inc.                                            D Contingent
          900 Circle 75 Parkway SE                                           □ Unliquidated
          Suite 1500                                                         n Disputed
          Atlanta, GA 30339
                                                                             Basis for the claim: _
          Date(s) debt was incurred _
                                                                             Is the claim subject to offset? B No □ Yes
          Last 4 digits of account number _

3.50      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,200.00
          LocalBR Computer Inc.                                              n Contingent
          200 Everett Ave.                                                   n Unliquidated
          Chelsea, MA 02150                                                  □ Disputed
          Date(s) debt was incurred _                                        Basis for the claim: _
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? B No      □ Yes
 3.51    I Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.          $113,000.00
          Manoel P. Costa                                                    D Contingent
          530 Lowell Street                                                  □ Unliquidated
          Andover, MA 01810                                                  □ Disputed
          Date(s) debt was incurred Private loan                             Basis for the claim: _
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? B No D Yes




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Debtor       Top Line Granite Design Inc._____                                                        Case number (if known)            22-40216 (CJP)
             Name
3.52      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6,979.00
          Marbie and Granite, Inc.                                           □ Contingent
          270 University Avenue                                              □ Unliquidated
          Westwood, MA 02090                                                 D Disputed
          Date(s) debt was Incurred _                                        Basis for the claim: _
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? B No □ Yes

3.53      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check ah that apply.                 $352.00
          Mark Ryan Rippetoe                                                 □ Contingent
          On the Marble Services                                             □ Unliquidated
          11 Vernye                                                          □ Disputed
          North Chelmsford, MA 01863
                                                                             Basis for the claim: Referral fee
          Date(s) debt was incurred _
          Last 4 digits of account number _                                  Is the claim subject to offset? B No □ Yes


13.54    J Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $1,554.39
          MB Customs, Inc.                                                   n Contingent
          186 Mammoth Road                                                   □ Unliquidated
          Lowell, MA 01854                                                   □ Disputed
          Date(s) debt was incurred _                                        Basis for the claim: _
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? B No D Yes

13.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $188,218.25
          Mendonca & Partners, CPA L.L.C.                                    □ Contingent
          1030 Salem Road                                                    □ Unliquidated
          Township, NJ 07083                                                 n Disputed
          Date(s) debt was incurred _                                        Basis for the claim: _
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? B No □ Yes

I 3.56    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Merchant Capital / Alpha Recovery Partne                           n Contingent
          530813th Ave., Suite 324                                           □ Unliquidated
          Brooklyn, NY 11219                                                 D Disputed
          Date(s) debt was incurred _                                        Basis for the claim: NOTICE PURPOSES (Debtor has potential causes of
          Last 4 digits of account number _                                  action)

                                                                             Is the claim subject to offset? B No □ Yes

 3.57    j Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $420.00
          Mitchell Electric, Inc.                                            D Contingent
          3 Industrial Way, Unit A                                           D Unliquidated
          Tyngsboro, MA 01879                                                D Disputed
          □ate(s) debt was incurred _                                        Basis for the claim: _
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? B No □ Yes

 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the ciaim is: Check all that apply.              $5,000.00
          Mitchell Kazimwezyh                                                n Contingent
          50 Locksley Road                                                   n Unliquidated
          Lynnfield, MA 01940                                                □ Disputed
          Date(s) debt was incurred _                                        Basis for the claim: _
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? B No □ Yes




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Debtor       Top Line Granite Design Inc.                   ___                                       Case number (if known)            22-40216 (CJP)
             Name
3.59      Nonpriority creditor's name and maiiing address                    As of the petition fiiing date, the claim is: Check all that apply.            $31,387.71
          Moxtra Import & Export LLC                                         □ Contingent
          120 Main Street                                                    D Unliquidated
          Milford, MA 01757                                                  □ Disputed
          Date(s) debt was incurred _                                        Basis for the claim: _
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? B No □ Yes

3.60      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $58,391.22
          MS International, Inc.                                             Cl Contingent
          1080 University Ave.                                               □ Unliquidated
          Norwood, MA 02062                                                  □ Disputed
          Date(s) debt was incurred _                                        Basis for the claim: _
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? B No □ Yes

3.61    J Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $19,200.07
          National Grid (Eiectric)                                           □ Contingent
          P.O. 60x11737                                                      □ Unliquidated
          Newark, NJ 07101                                                   □ Disputed
          Date(s) debt was incurred _                                        Basis for the claim: _
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? B No      □ Yes

3.62      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $7,140.97
          National Grid - Gas                                                n Contingent
          P.O. 60x1040                                                       □ Unliquidated
          Northborough, MA 01532                                             n Disputed
          □ate(s) debt was incurred _                                        Basis for the claim: _
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? B No □ Yes

3.63      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,701.00
          New England Home Performance Kings                                 D Contingent
          New England Gutter Kings                                           D Unliquidated
          50 6oston Road
          Lowell, MA 01852
                                                                             □ Disputed
                                                                             Basis for the claim: _
          Date(s) debt was incurred _
          Last 4 digits of account number _                                  Is the claim subject to offset? B No □ Yes


3.64     I Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                  $60.00
          New England Security Shredders, LLC                                D Contingent
          New England Scaffolding Service, LLC                               n Unliquidated
          85 Mili Street                                                     n Disputed
          6rockton, MA 02301
                                                                             Basis for the claim: _
          Date(s) debt was incurred _
          Last 4 digits of account number _                                  Is the claim subject to offset? B No □ Yes


I 3.65 '''] Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $320.00
          North East 6uilders Association of MA                              n Contingent
          170 Main Street, #205                                              □ Unliquidated
          Tewksbury, MA 01876                                                □ Disputed
          Date(s) debt was incurred _                                        Basis for the claim: _
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? B No □ Yes




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Debtor       Top Line Granite Design Inc.                                                             Case number (if known)            22-40216 (CJP)
             Name
3.66      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,000.00
          North Metal and Trucks Corp.                                       □ Contingent
          365 Central Street                                                 n Unliquidated
          Hudson, MA 01749                                                   □ Disputed
          Date(s) debt was incurred _                                        Basis for the claim: _
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? B No D Yes

3.67     I Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $17,858.00
          Pacific Enterprise                                                 □ Contingent
          49 Gardner Street                                                  □ Unliquidated
          Worcester, MA 01610                                                □ Disputed
          Date(s) debt was incurred _                                        Basis for the claim: _
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? B No □ Yes

3.68      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,080.00
          Papeleguas Auto Repair                                             □ Contingent
          47 Aiken Ave.                                                      D Unliquidated
          Lowell, MA01850                                                    □ Disputed
          Date(s) debt was incurred _                                        Basis for the claim: _
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? B No D Yes

I 3.69   j Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.          $614,200.00
          Patrick Rygiei                                                     n Contingent
          17 Laurie Lane                                                     □ Unliquidated
          Loweii, MA 01854                                                   □ Disputed
          Date(s) debt was incurred _                                        Basis for the claim: _
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? B No      □ Yes

 3.70     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,255.20
          Petro Home Services                                                D Contingent
          P.O. Box 70282                                                     n Unliquidated
          Philadelphia, PA 19176-0282                                        n Disputed
          Date(s) debt was incurred _                                        Basis for the claim: _
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? B No      D Yes

13.71     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $8,500.00
          Porles Trucking LLC                                                D Contingent
          30 Saxonia Ave.                                                    n Unliquidated
          Lawrence, MA 01841                                                 □ Disputed
          Date(s) debt was incurred _                                        Basis for the claim: _
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? B No D Yes

 3.72     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,337.50
          Raphaei Stone Coiiection                                           D Contingent
          665 Cambridge Street                                               □ Unliquidated
          Worcester, MA 01610                                                □ Disputed
          Date(s) debt was incurred _                                        Basis for the claim: _
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? B No      □ Yes




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Debtor             Top Line Granite Design Inc.                                                       Case number (if known)            22-40216 (CJP)
                    Name
13.73            Nonpriority creditor's name and mailing address             As of the petition fiiing date, the ciaim is: Check all that apply.              $5,173.35
                 Russell Mann Machinery, LLC                                 n Contingent
                 P.O. Box 272                                                □ Unliquidated
                 Mahwah, NJ 07430-9998                                       □ Disputed
                 Date(s) debt was incurred _                                 Basis for the claim: _
                 Last 4 digits of account number _
                                                                             Is the claim subject to offset? B No O Yes

3.74             Nonpriority creditor's name and mailing address             As of the petition filing date, the claim is: Check an that apply.               $3,750.00
                 Sasso USA Inc.                                              n Contingent
                 10912 Metronome Drive                                       □ Unliquidated
                 Houston, TX 77043                                           □ Disputed
                 Date(s) debt was incurred _                                 Basis for the claim: _
                 Last 4 digits of account number _
                                                                             Is the claim subject to offset? B No □ Yes

[3.75       J Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is: Check all that apply.              $4,313.75
                 Sherburne Lumber                                            n Contingent
                 56 Coburn Road                                              □ Unliquidated
                 Tyngsboro, MA 01879-0353                                    □ Disputed
                 Date(s) debt was incurred _                                 Basis for the claim: _
                 Last 4 digits of account number _
                                                                             Is the claim subject to offset? B No D Yes

 3.76            Nonpriority creditor's name and mailing address             As of the petition filing date, the claim is: Check all that apply.              $7,000.00
                 Sunape Street Autoworks                                     □ Contingent
                 50 Sunape Street                                            □ Unliquidated
                 Newport, NH 03773                                           n Disputed
                 Date(s) debt was incurred _                                 Basis for the claim: _
                 Last 4 digits of account number _
                                                                             Is the claim subject to offset? B No □ Yes

j3.77            Nonpriority creditor's name and mailing address             As of the petition filing date, the claim is: Check all that apply.              $2,086.96
                 Sysco Boston, LLC                                           □ Contingent
                 f/k/a Hallsmith-Sysco Food Services LLC                     □ Unliquidated
                 99 Spring Street                                            □ Disputed
                 Piympton, MA 02367
                                                                             Basis for the claim: _
                 Date(s) debt was incurred _
                                                                             Is the claim subject to offset? B No □ Yes
                 Last 4 digits of account number _

 3.78
        .... j
                 Nonpriority creditor's name and mailing address             As of the petition filing date, the claim is: Check all that apply.              $2,352.97
                 TM Stone & Granite                                          □ Contingent
                 24 Rogers Road, Unit #5                                     D Unliquidated
                 Haverhiii, MA 01835                                         □ Disputed
                 Date(s) debt was incurred _                                 Basis for the claim: _
                 Last 4 digits of account number _
                                                                             Is the claim subject to offset? B No □ Yes

i3.79            Nonpriority creditor's name and mailing address             As of the petition filing date, the claim is: Check all that apply.            $27,807.59
                 Town of Tyngsboro                                           □ Contingent
                 25 Bryants Lane                                             □ Unliquidated
                 Tax Office                                                  □ Disputed
                 Tyngsboro, MA 01879
                                                                             Basis for the claim: _
                 Date(s) debt was incurred _
                                                                             Is the claim subject to offset? B No D Yes
                 Last 4 digits of account number _




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 14 of 16
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 Debtor       Top Line Granite Design Inc.                                                             Case number (if known)           22-40216 (CJP)
              Name
i3.80     Nonpriority creditor's name and maiiing address                    As of the petition fiiing date, the ciaim is: Check all that apply.                    $0.00
          Toyota Financial Services                                           □ Contingent
          P.O. 80x105386                                                     D Unliquidated
          Atlanta, GA 30348                                                  □ Disputed
          Date(s) debt was incurred _
                                                                             Basis for the ciaim: NOTICE PURPOSES- See Danvers Til, Inc.
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? B No D Yes

 3.81     Nonpriority creditor's name and maiiing address                    As of the petition fiiing date, the claim is: Check all that apply.              $1,615.67
          Tyngsboro Water District                                           D Contingent
          25 Bryants Laine                                                   □ Unliquidated
          Tyngsboro, MA 01879                                                □ Disputed
          Date(s) debt was incurred _
                                                                             Basis for the claim: _
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? B No      D Yes

 3.82     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,910.96
          United Rentais                                                     □ Contingent
          P.O. 80x100711                                                     □ Unliquidated
          Atlanta, GA 30384                                                  □ Disputed
          Date(s) debt was incurred _
                                                                             Basis for the claim: _
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? B No D Yes

 3.83     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $250,000.00
          US Construction and Maintenance                                    n Contingent
          347 Middlesex Road                                                 n Unliquidated
          Tyngsboro, MA 01879                                                n Disputed
          Date(s) debt was incurred _
                                                                             Basis for the claim: _
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? □ No B Yes

 3.84     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $26,925.00
          US Quartz & Stones Inc.                                            n Contingent
          43 Brunswick Ave., Ste. 1                                          n Unliquidated
          Perth Amboy, NJ 08861                                              n Disputed
          Date(s) debt was incurred _
                                                                             Basis for the claim: _
          Last 4 digits of account number _
                                                                             Is the ciaim subject to offset? B No D Yes

 3.85     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,127.00
          Verona Granite and Marble Importers                                D Contingent
          705 Quequechan St.                                                 D Unliquidated
          Fall River, MA 02721                                               n Disputed
          Date(s) debt was incurred _                                        Basis for the claim: _
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? B No □ Yes

 3.86     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $78,298.92
          Way2Go Cargo Corp.                                                 D Contingent
          P.O. Box 4001                                                      □ Unliquidated
          Boynton Beach, FL 33424                                            D Disputed
          Date(s) debt was incurred _
                                                                             Basis for the claim: _
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? B No D Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 15 of 16
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Debtor       Top Line Granite Design Inc.                                                             Case number (if known)            22-40216 (CJP)
             Name
3.87     Nonpriority creditor's name and maiiing address                     As of the petition fiiing date, the ciaim is: Check all that apply.               $4,040.55
         Wells Fargo Vendor Fin. Serv., LLC                                  D Contingent
         (assignee of Konica Minolta Premier Fin)                            n Unliquidated
         1010 Thomas Edison Blvd. SW                                         n Disputed
         Cedar Rapids, lA 52404
                                                                             Basis for the ciaim: Premier Advantage Agreement (equipment lease)
         Date(s) debt was incurred _
                                                                             Is the claim subject to offset? B No □ Yes
         Last 4 digits of account number _

3.88     Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.               $3,146.80
         Win Waste Innovations                                               D Contingent
         c/o Charles George Companies, Inc.                                  □ Unliquidated
         90 Arboretum Dr. Suite 300                                          n Disputed
         Portsmouth, NH 03801
                                                                             Basis for the claim: _
          Date(s) debt was incurred _
          Last 4 digits of account number _                                  Is the claim subject to offset? B No □ Yes


3.89      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,362.00
         WJ Graves                                                           n Contingent
         P.O. Box 401                                                        □ Unliquidated
         East Templeton, MA 01438                                            D Disputed
          Date(s) debt was incurred _                                        Basis for the claim: _
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? B No D Yes



 Part 3 BJJst^th^ to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                    On which line in Parti or Part 2 is the        Last 4 digits of
                                                                                                      related creditor (if any) listed?              account number, if
                                                                                                                                                     any
 4.1      David E. Wilson, Esq.
          Corwin & Corwin LLP                                                                         Line      3.5                                  Litiq counsel for
          600 Unicorn Park Drive                                                                                                                     Allegheny
                                                                                                      □      Not listed. Explain
          2nd Floor
          Woburn, MA 01801

 4.2      Florence Zabokritsky, Esq.
          Alpha Recovery Partners                                                                     Line 3.56                                      (Merchant Capit
          1274 49th Street, Suite 197                                                                                                                a!i
                                                                                                      □      Not listed. Explain
          Brooklyn, NY 11219

 4.3      National Grid - Eiectric
          P.O. Box 960                                                                                Line 3.61
          Northborough, MA 01532
                                                                                                      D      Not listed. Explain


 Part 4 [U Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                          Total of claim amounts
 5a. Total claims from Part 1                                                                             5a.         $                    109,872.83
 5b. Total claims from Part 2                                                                             5b.     +   $                 11,110,184.80

 5c. Total of Parts 1 and 2                                                                                                                11,220,057.63
      Lines 5a + 5b = 5c.                                                                                 5c.




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 16 of 16
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Fill in this information to identify the case:

Debtor name         Top Line Granite Design Ino                                  __

I United States Bankruptcy Court for the:           DISTRICT OF MASSACHUSETTS

Case number (if known)         22-40216 (CJP)
                                                                                                                                   □ Check if this is an
                                                                                                                                     amended tiling


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                  12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.      Does the debtor have any executory contracts or unexpired leases?
        □ No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
      ■ Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal               Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.1.        State what the contract or                   Commercial Property
             lease is for and the nature of               Lease dated Jan 1,
             the debtor's interest                        2019, as may be
                                                          amended
                 State the term remaining                 (Expires 12/31/23
                                                          subject to renewal)         347 Middlesex Road Realty Trust
              List the contract number of any                                         347 Middlesex Road
                    government contract                                               Tyngsboro, MA 01879



 2.2.         State what the contract or                  Lease dated 11/26/2019
              lease is for and the nature of              , beginning Jan 1, 2020
              the debtor's interest                       for NH home design
                                                          center/ displays (520
                                                          Amherst St, Nashua
                                                          NH)
                 State the term remaining                 (ending 12/31/23
                                                          subject to renewal)         Blackdog Builder Investment Holdings LLC
              List the contract number of any                                         7 Red Roof Lane, Unit 1
                    government contract                                               Salem, NH 03079



 2.3.         State what the contract or                  Warehouse space
              lease Is for and the nature of              occupancy
              the debtor's interest                       arrangement (unwritten
                                                          lease) since May 2021
                                                          for 41 Lowell Street,
                                                          Dunstable MA
                  State the term remaining                n/a
                                                                                      Brattle Development
              List the contract number of any                                         147 Depot Street
                    government contract                                               Dunstable, MA 01827



 2.4.         State what the contract or                  Closed- End Motor
              lease Is for and the nature of              Vehicle Lease
              the debtor's Interest                       Agreement dated
                                                          9/14/19 for 3 years
                                                          (2019 Totota C-HR
                                                          Limited FWD (VIN xxx        Danvers - Til, Inc.
                                                          4815)                       468 Main Street
                  State the term remaining                6 months                    Tewksbury, MA 01876

Official Form 206G                                Schedule G: Executory Contracts and Unexpired Leases                                               Page 1 of 4
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                                                                                                                                            4/11/22 5;47PM

Debtor 1 Top Line Granite Design Inc.                                                        Case number {if known)   22-40216 (CJP)
             First Name               Middle Name                    Last Name


            Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease


             List the contract number of any
                   government contract


2,5.         State what the contract or                   Closed- End Motor
             lease is for and the nature of               Vehicle Lease
             the debtor's interest                        Agreement dated
                                                          10/1/19 for 3 years
                                                          (2019 Totota Tacoma
                                                          4WD SR5 Double Cab
                                                          5'Bed V6 AT(VINxxx
                                                          6691)
                 State the term remaining                 7 months
                                                                                     Danvers - Til, Inc.
             List the contract number of any                                         488 Main Street
                   government contract                                               Tewksbury, MA 01876


2.6.         State what the contract or                   Closed- End Motor
             lease is for and the nature of               Vehicle Lease
             the debtor's interest                        Agreement dated
                                                          8/26/20 for 3 years
                                                          (2020 Toyota Prius
                                                          LEAWD-e (VIN xxx
                                                          6351)
                  State the term remaining                1 yr 5 months
                                                                                     Danvers - Til, Inc.
             List the contract number of any                                         488 Main Street
                   government contract                                               Tewksbury, MA 01876


2.7.         State what the contract or                   Closed- End Motor
             lease is for and the nature of               Vehicle Lease
             the debtor's interest                        Agreement dated
                                                          8/26/20 for 3 years
                                                          (2020 Toyota Prius
                                                          LEAWD-e (VIN xxx
                                                          0718)
                  State the term remaining                1 yr 5 months
                                                                                     Danvers - Til, Inc.
             List the contract number of any                                         488 Main Street
                   government contract                                               Tewksbury, MA 01876


2.8.         State what the contract or                   Closed- End Motor
             lease is for and the nature of               Vehicle Lease
             the debtor's interest                        Agreement dated
                                                          8/26/20 for 3 years
                                                          (2020 Toyota Prius
                                                          LEAWD-e (VIN xxx
                                                          7634)
                  State the term remaining
                                                                                     Danvers - Til, Inc.
             List the contract number of any                                         488 Main Street
                   government contract                                               Tewksbury, MA 01876

Official Form 206G                                Schedule G: Executory Contracts and Unexpired Leases                                       Page 2 of 4
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Debtor 1 Top Line Granite Design Inc.                                                          Case number {ifknown)   22-40216 (CJP)
             First Name               Middle Name                    Last Name


           Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease


2.9.         State what the contract or                   Closed- End Motor
             lease is for and the nature of               Vehicle Lease
             the debtor's interest                        Agreement dated
                                                          8/26/20 for 3 years
                                                          (2020 Toyota Prius
                                                          LEAWD-e (VIN xxx
                                                          2300)
                 State the term remaining                 1 yr 5 months
                                                                                       Danvers - Til, Inc.
             List the contract number of any                                           488 Main Street
                   government contract                                                 Tewksbury, MA 01876


2.10.        State what the contract or                   Closed- End Motor
             lease is for and the nature of               Vehicle Lease
             the debtor's interest                        Agreement dated
                                                          8/26/20 for 3 years
                                                          (2020 Toyota Prius
                                                          LEAWD-e (VIN xxx
                                                          2004)
                 State the term remaining                 1 yr 5 months
                                                                                       Danvers - Til, Inc.
             List the contract number of any                                           488 Main Street
                   government contract                                                 Tewksbury, MA 01876


2.11.        State what the contract or                   Closed- End Motor
             lease is for and the nature of               Vehicle Lease
             the debtor's interest                        Agreement dated
                                                          8/26/20 for 3 years
                                                          (2020 Toyota Prius
                                                          LEAWD-e (VIN xxx
                                                          2090)
                  State the term remaining                1 yr 5 months
                                                                                       Danvers - Til, Inc.
             List the contract number of any                                           488 Main Street
                   government contract                                                 Tewksbury, MA 01876


2.12.        State what the contract or                   Merchant Processing
             lease is for and the nature of               Application and
             the debtor's interest                        Agreement, dated
                                                          4/2021 (3 years)
                  State the term remaining
                                                                                       First Data Merchant Services LLC
             List the contract number of any                                           4000 Coral Ridge Drive
                   government contract                                                 Pompano Beach, FL 33065


2.13.        State what the contract or                   Premier Advantage
             lease is for and the nature of               Agreement equipment
             the debtor's interest                        lease) dated 8/2019 (4
                                                          years)                       Wells Fargo Vendor Fin. Serv., LLC
                  State the term remaining                16+ months                   (assignee of Konica Minolta Premier Fin)
                                                                                       1010 Thomas Edison Blvd. SW
            List the contract number of any                                            Cedar Rapids, lA 52404
Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                                    Page 3 of 4
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Debtor 1 Top Line Granite Design Inc.                                                        Case number {if known)   22-40216 (CJP)
             First Name               Middle Name                    Last Name


            Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired ieases                                       State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                        Page 4 of 4
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                                                                                                                                             4/11/22 5;47PM


Fill in this information to identify the case:

Debtor name        jlop Line Granite Design Inc.

United Slates Bankruptcy Court for the;             DISTRICT OF MASSACHUSETTS

Case number (if known)          22-40216 (CJP)
                                                                                                                          □ Check if this is an
                                                                                                                            amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

□ No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
■ Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                 Name                            Check all schedules
                                                                                                                               that apply:

    2.1      347 Middlesex                     347 Middlesex Road                              Avidia Bank                     ■ D__ 2^
             Road Realty                       Tyngsboro, MA 01879                                                             □ E/F
             Trust                                                                                                             □G




    2.2      347 Middlesex                     347 Middlesex Road                              Avidia Bank No. 5365            ■ D__ 2^
             Road Realty                       Tyngsboro, MA 01879                                                             □ E/F
             Trust
                                                                                                                               □ G




    2.3      347 Middlesex                     (primary obligor)                               Avidia Bank                     □ D
             Road Realty                                                                                                       ■ E/F        3.10
             Trust                                                                                                             □ G




    2.4      347 Middlesex                      (primary obligor)                              Bay Colony                      □ D
             Road Realty                                                                       Development Corp/               ■ E/F        3.11
             Trust                                                                             SBA loan
                                                                                                                               □ G




    2.5      Edmilson Ramos                    P.O. Box 705                                    TVT Capital                     ■ D   2.27
                                               Tyngsboro, MA 01879                                                             □ E/F_____
                                                                                                                               □G




Official Form 206H                                                      Schedule H: Your Codebtors                                          Page 1 of 5
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Debtor       Top Line Granite Design Inc.                                            Case number (ifknown)   22-40216 (CJP)


           Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page
            Column 1: Codebtor                                                          Column 2: Creditor


    2.6      Edmilson Ramos                    P.O. Box 705                               MR Advance                   ■D    2.22
                                               Tyngsboro, MA 01879                                                     □ E/F____
                                                                                                                       □G




    2.7      Edmilson Ramos                    P.O. Box 705                               BrickStone Group             ■ D__ 2^
                                               Tyngsboro, MA 01879                        LLC                          □ E/F
                                                                                                                       □G




    2.8      Edmilson Ramos                    P.O. Box 705                               Blade Funding Inc.           ■ D__ ^
                                               Tyngsboro, MA 01879                                                     □ E/F
                                                                                                                       □G




    2.9      Edmilson Ramos                     P.O. Box 705                              AJ Equity Group              ■ D__ ^
                                                Tyngsboro, MA 01879                                                    □ E/F
                                                                                                                       □G




    2.10     Edmilson Ramos                     P.O. Box 705                              Avidia Bank                  ■ D__ ^
                                                Tyngsboro, MA 01879                                                    □ E/F
                                                                                                                       □G




    2.11     Edmilson Ramos                     P.O. Box 705                              Avidia Bank No. 5365         ■ D__ ^
                                                Tyngsboro, MA 01879                                                    □ E/F
                                                                                                                       □G




    2.12     Edmilson Ramos                     P.O. Box 705                              U.S. Small Business         ■ D   2.28
                                                Tyngsboro, MA 01879                       Administration              □ E/F
                                                                                                                      □G




    2.13     Edmilson Ramos                                                               Avidia Bank                 □D
                                                                                                                      ■ E/F       3.10
                                                                                                                      □G




Official Form 206H                                                    Schedule H: Your Codebtors                                  Page 2 of 5
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 Debtor      Top Line Granite Design Inc.                                            Case number (if known)   22-40216 (CJP)


           Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentiaiiy from the previous page.
            Column f; Codebtor                                                          Column 2: Creditor


    2.14     Edmilson Ramos                                                               Bay Colony                    □D
                                                                                          Development Corp/             ■ E/F       3.11
                                                                                          SBA loan
                                                                                                                        □G




    2.15     Edmilson Ramos                    P.O. Box 705                               RFG                           ■D       2.23
                                               Tyngsboro, MA 01879                                                      □ E/F____
                                                                                                                        □G




    2.16     Edmilson Ramos                    P.O. Box 705                               Corporation Service           ■D    2.10
                                               Tyngsboro, MA 01879                        Company                       □ E/F
                                                                                                                        □G




    2.17     Edmilson Ramos                    P.O. Box 705                               First Corporate              ■ D   2.19
                                               Tyngsboro, MA 01879                        Solution,                    □ E/F____
                                                                                                                       □G




    2.18     Edmilson Ramos                                                               Manoel P. Costa              □D
                                                                                                                       ■ E/F        3.51
                                                                                                                       □G




    2.19     Edmilson Ramos                    P.O. Box 705                               Colonial Imports             ■ D__ 2^
                                               Tyngsboro, MA 01879                        Corp.                        □ E/F
                                                                                                                       □G




    2.20     Edmilson Ramos                    P.O. Box 705                               Colonial Imports             ■ D   2.6
                                               Tyngsboro, MA 01879                        Corp.                        □ E/F
                                                                                                                       □G




    2.21     Edmilson Ramos                    P.O. Box 705                               Colonial Imports             ■ D   2.7
                                               Tyngsboro, MA 01879                        Corp.                        □ E/F
                                                                                                                       □G




Official Form 206FI                                                  Schedule FI: Your Codebtors                                    Page 3 of 5
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Debtor       Top Line Granite Design Inc.                                                  Case number (ifknown)   22-40216 (CJP)


           Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor


   2.22      Edmilson Ramos                    P.O. Box 705                                     Coloniai imports             ■ D__ 2^
                                               Tyngsboro, MA 01879                              Corp.                        □ E/F
                                                                                                                             □G




   2.23      US Construction                   347 Middiesex Road                               MR Advance                   ■ D   2.22
             and Maintenance                   Tyngsboro, MA 01879                                                           □ E/F____
                                                                                                                             □G




   2.24      US Construction                   347 Middiesex Road                               Biade Funding Inc.           ■ D__ 2^
             and Maintenance                   Tyngsboro, MA 01879                                                           □ E/F
                                                                                                                             □G




   2.25      US Construction                   347 Middiesex Road                               Avidia Bank                  ■D       2.2
             and Maintenance                   Tyngsboro, MA 01879                                                           □ E/F
                                                                                                                             □G




   2.26      US Construction                   347 Middiesex Road                               Avidia Bank No. 5365         ■ D__ 2^
             and Maintenance                   Tyngsboro, MA 01879                                                           □ E/F
                                                                                                                             □G




   2.27      US Construction                   (and other affiliated entities                   Corporation Service          ■ D   2.10
             and Maintenance                   no longer in business)                           Company                      □ E/F____
                                               Weymouth, MA                                                                  □G




   2.28      US Construction                   347 Middiesex Road                               First Corporate              ■ D   2.19
             and Maintenance                   Tyngsboro, MA 01879                              Soiution J                   □ E/F
                                                                                                                             □G




    2.29     US Construction                                                                    Bay Coiony                   □D
             and Maintenance                                                                    Deveiopment Corp/            ■ E/F       3.11
             LLC                                                                                SBA ioan
                                                                                                                             □G




Official Form 206H                                                          Schedule H: Your Codebtors                                   Page 4 of 5
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Debtor       Top Line Granite Design Inc.                                            Case number (if known)   22-40216 (CJP)


           Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



   2.30      US Construction                                                              Avidia Bank                   □D
             and Maintenance                                                                                            ■ E/F      3.10
             LLC                                                                                                        □G



   2.31      Edmilson Ramos                                                               First Data Merchant           □D
                                                                                          Services LLC                  □ E/F_____
                                                                                                                        ■G       2.12




Official Form 206FI                                                  Schedule FI: Your Codebtors                                    Page 5 of 5
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